                             Case 18-10069-MFW                   Doc 1         Filed 01/11/18             Page 1 of 14

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
  District of Delaware

 Case number    (If known)                                 Chapter 11                                                                    0   Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




.1. Debtor's name                          KIKO USA, Inc.




2. All other names debtor used
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names



3. Debtor's federal Employer                6 1       -    1 7 2 0 8 0 5
   Identification Number (EIN)



4. Debtor's address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                       of business
                                           470 Park Avenue South, 15th Fl.
                                           New York, NY 10016




                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           New York County
                                           County




5. Debtor's website (URL)                  https://www.kikocosmetics.com/

6. Type of debtor
                                           I■gi Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:



                                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy
                             Case 18-10069-MFW                       Doc 1     Filed 01/11/18             Page 2 of 14


Debtor           KIKO USA, Inc.                                                                  Case number   (II known)
                 Name



                                       A. Check one:
7.    Describe debtor's business
                                       U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       U Railroad (as defined in 11 U.S.C. § 101(44))
                                       U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       U Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       Xi None of the above


                                       B. Check all that apply:

                                       U Tax-exempt entity (as described in 26 U.S.C. § 501)
                                       U Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                          § 80a-3)
                                       U Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.naics.com/search/ .
                                             4 4       6         1

8. Under which chapter of the          Check one:
   Bankruptcy Code is the
   debtor filing?                      U Chapter 7
                                       U Chapter 9
                                       El Chapter 11. Check all that apply:
                                                            U    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                 4/01/19 and every 3 years after that).
                                                            U The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            U A plan is being filed with this petition.

                                                            LI   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            U The debtor is required to file periodic reports (for example, 10K and 100) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non Individuals Filing
                                                                                                                                           -

                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            U    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                       U Chapter 12

9. Were prior bankruptcy cases         SI   No
   filed by or against the debtor
   within the last 8 years?            U Yes.    District                               When                        Case number
                                                                                                MM/ DD / YYYY
     If more than 2 cases, attach a
     separate list.                              District                               When                        Case number
                                                                                                MM/ DD / YYYY


10. Are any bankruptcy cases           El No
    pending or being filed by a
    business partner or an             U Yes.    Debtor                                                             Relationship
    affiliate of the debtor?                     District                                                             When
     List all cases. If more than 1,                                                                                               MM / DD / YYYY
     attach a separate list.                     Case number, if known


                                             Voluntary Petition for Non-Individuals Filing for Bankruptcy
                        Case 18-10069-MFW                    Doc 1            Filed 01/11/18             Page 3 of 14


Debtor         KIKO USA, Inc.                                                                 Case number (if known)
               Name




11. Why is the case filed in this   Check all that apply:
   district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                    0    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have          No
    possession of any real          0    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
    attention?
                                               0   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                              O It needs to be physically secured or protected from the weather.

                                              O It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                assets or other options).

                                              0    Other



                                              Where is the property?




                                              Is the property insured?

                                              •    No
                                              0    Yes.   Insurance agency


                                                          Contact name


                                                          Phone




         Statistical and administrative information



13. Debtor's estimation of          Check one:
    available funds                 51   Funds will be available for distribution to unsecured creditors.
                                    0    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                    O    1-49                            0    1,000-5,000                              0 25,001-50,000
14. Estimated number of
                                    O    50-99                           0    5,001-10,000                             O 50,001-100,000
    creditors
                                    O    100-199                         0    10,001-25,000                            O More than 100,000
                                    El   200-999


                                    •    $0-$50,000                      •    $1,000,001-$10 million                   Ii   $500,000,001-$1 billion
is. Estimated assets                •    $50,001-$100,000                •    $10,000,001-$50 million                  Ii   $1,000,000,001-$10 billion
                                    •    $100,001-$500,000               Ii   $50,000,001-$100 million                 Ii  $10,000,000,001-$50 billion
                                    •    $500,001-$1 million             Ii   $100,000,001-$500 million                Li More than $50 billion




                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy
                       Case 18-10069-MFW                         Doc 1            Filed 01/11/18                  Page 4 of 14


 Debtor          KIKO USA, Inc.
                                                                                                     Case number
               Narno



                                         Li    50-550.000                             $1,000,001-$10 million               Li   $500,000,001-$1 billion
 16. Estimated liabilities
                                         Li    $50,001-$100,000                  Li   $10,000,001-$50 million              Li   $1,000,000,001-$10 billion
                                         Li    $100,001-5500,000                 Li   $50,000,001-5100 million             Li   $10,000,000,001-$50 billion
                                         LI    $500,001-$1 million               LJ   $100,000,001-$500 million            D    More than $50 billion



             Request for Relief, Declaration, and Signatures



 WARNING — Bankruptcy fraud is a serious come. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519. and 3571.


17.   Declaration and signature of
                                               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor

                                               I have been authorized to file this petition on behalf of the debtor.


                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on    0 ),/0 taic

                                                                                                            Frank Furian
                                              Signature of authorized representative of debtor              Printed name

                                              Titl e Chief Executive Officer



is. Signature of attorney                                                                                            01-11- 2 0 t6"
                                                                                                            Date
                                              Signature of attorney for debtor                                           MM rOD iyyvy


                                      Mark Minuti
                                      Saul Ewing Arnstein & Lehr LLP
                                      1201 N. Market Street, Suite 2300
                                      Wilmington, DE 19801




                                      302.421,6840                                                        mark.minuti(@saul.com
                                     Contact phone                                                       Email address

                                      2659                                                                DE
                                     Bar number                                                          State


           And                        John S. Kaplan
                                      Perkins Coie LLP
                                      1201 Third Avenue, Suite 4900
                                      Seattle, WA 98101




                                      206.359.8408                                                        jkaplan@perkinscoie.com
                                      Contact phone                                                       Email address
                                     23788                                                                WA
                                      Bar number                                                          State



                                              Voluntary Petition for Non-Individuals Filing for Bankruptcy
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                                           1:1K0 USA, Inc.

                      UNANIMOUS WRITTEN CONSENT IN LIEU OF
                  A SPECIAL MEETING OF THE BOARD OF DIRECTORS



       The undersigned, being all the Directors of KIK° USA, Inc., a Delaware corporation (the
"Company"), by tins instrument in lieu of a meeting of the Directors of the Company, hereby
consent to the adoption of the following resolutions, pursuant to Section 141(t) of the Delaware
General Corporation Law and the Bylaws of the Company:

         WHEREAS, the Directors have discussed and consulted with the Company's
         management (the "Management") and financial and legal advisors (collectively, the
         "Advisors") regarding the liabilities and liquidity of the Company, strategic alternatives
         available to it, and the effect of the foregoing on the Company's business;

         WITEREAS, the Board has determined that the appointment of Mark Samson, Managing
         Director of Getzler Henrich 8z, Associates LLC, as Chief Restructuring Officer ("CRO")
         of the Company, is desirable and necessary for efficiency in its restructuring effbrts and
         to help preserve and maximize value for the benefit of the Company, its shareholders,
         creditors and other parties in interest;

         WHEREAS, the Directors having discussed the foregoing with the Management and the
         Advisors and having determined, in the judgment of Directors, that it is in the best
         interests of the Company, its shareholders, its creditors, and other parties in interest for
         the Company to file a voluntary petition for relief under the provisions of chapter 11 of
         title 11 of the United States Code (the "Bankruptcy Code").

APPROVAL OF CHAPTER II FILING AND PLAN

         NOW, THEREFORE,          Fr is:
         RESOLVED, the Company hereby is authorized and empowered to file a voluntary
         petition for relief under chapter 11 of the Bankruptcy Code in the United States
         Bankruptcy Court for the District of Delaware, and therefore commence a proceeding
         under the Bankruptcy Code (the "Bankruptcy Case").

        RESOLVED, any of the officers or agents of the Company, including the CRO (the
        "Authorized Officers") are, and each of them individually is, authorized and empowered
        to execute on behalf of the Company, after consultation with any Advisor, any petitions,
        schedules, lists, applications, documents, declarations, statements, motions, pleadings,
        consents and other papers, including any proposed plan of reorganization and disclosure
        statement in connection with the Bankruptcy Case, and to take any and all action that
        they deem (or Bankruptcy Counsel advises) necessary or proper to obtain relief' under the
        Bankruptcy Code, including, without limitation, maintain the Company's assets and any


                                                   -1 -
38057649.1
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                other transaction deemed necessary or proper to protect and advance the interests of the
                Company.

            RESOLVED, the Authorized Officers are authorized and directed, in the name of and on
            behalf of the Company, to make, enter into, execute, deliver and file any and all other or
            further agreements, documents, certificates, materials or instruments, to disburse funds of
            the Company, to take or cause to be taken any and all other actions, and to incur such fees
            and expenses as such Authorized Officers deem to be necessary, appropriate or advisable
            to carry out the purposes of these Resolutions and the transactions contemplated
            thereunder and to successfully consummate any plan, complete the Bankruptcy Case, the
            taking of any action to constitute conclusive evidence and the exercise of discretionary
            authority.

RETENTION OF PROFESSIONALS

            RESOLVED, each Authorized Officer hereby is authorized and directed to engage the
            law firm of Perkins Coie LLP as bankruptcy and restructuring counsel to represent and
            assist the Company in carrying out and fulfilling its duties and obligations under the
            Bankruptcy Code, and to take any and all actions to advance the Company's rights and
            obligations, including filing any pleadings; and in connection therewith, each of the
            Authorized Officers, with power of delegation, is hereby authorized and directed to
            execute appropriate retention agreements, pay appropriate retainers, and to cause to be
            filed an appropriate application for authority to retain the services of Perkins Coie .LLP.

            RESOLVED, each Authorized Officer hereby is authorized and directed to engage the
            law firm of Saul Ewing LIT as local bankruptcy and restructuring counsel to represent
            and assist the Company in carrying out and fulfilling its duties and obligations under the
            Bankruptcy Code, and to take any and all actions to advance the Company's rights and
            obligations, including filing any pleadings; and in connection therewith, each of the
            Authorized Officers, with power of delegation, is hereby authorized and directed to
            execute appropriate retention agreements, pay appropriate retainers, and to cause to be
            filed an appropriate application for authority to retain the services of Saul Ewing LLP.

            RESOLVED, Mark Samson shall be appointed as the CRO of the Company, and Getzler
            Henrich & Associates LLC may make additional !personnel available to support the
            efforts of the CRO, subject to the terms of the engagement letter and approval of the
            Bankruptcy Court, and in connection therewith, each of the Authorized Officers, with
            power of delegation, is hereby authorized and directed to execute appropriate retention
            agreements, pay appropriate retainers, and to cause to be filed an appropriate application
            for authority to retain the services of Mark Samson as CRO.

           RESOLVED, BMC Group shall be appointed as the claims noticing agent for the
           Company„ subject to the terms of the engagement letter and approval of the Bankruptcy
           Court, and in connection therewith, each of the Authorized Officers, with power of
           delegation, is hereby authorized and directed to execute appropriate retention agreements,



                                                         2
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          pay appropriate retainers, and to cause to be -filed an appropriate application for authority
          to retain the services of BMC Group as claims noticing agent.

          RESOLVED, each Authorized Officer hereby is authorized and directed to engage any
          other professionals to assist the Company in carrying out its duties under the Bankruptcy'
          Code, and to take any and all actions to advance the Company's rights and obligations;
          and in connection therewith, each of the Authorized Officers, with power of delegation, is
          hereby authorized and directed to execute appropriate retention agreements, pay
          appropriate retainers, and to cause to be filed appropriate applications for authority to
          retain the services of any other professionals as they deem necessary.

GENERAL AUTHORIZATION AND RATIFICATION

           RESOLVED, that the authority provided by these resolutions is retroactive and any and
           all actions heretofore or hereafter taken by the Authorized Officers of the Company in
           connection with these resolutions are hereby in all respects confirmed, approved and
           ratified; the Authorized Officers of the Company, together or individually, may take any
           and all action and do any and all things as may be deemed by any of them to be necessary
           or advisable or appropriate to carry out the purposes and intent of the foregoing
           resolutions; and the taking of any and all such action and the performance of any and all
           such things by any of them in connection with the foregoing shall conclusively establish
           such officer's authority therefor from the Company and the approval and ratification
           therefor by the Company.


                                        [signature page follows]




                                                     3
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        The actions taken by this consent shall have the same force and effect as if taken by the
undersigned at the annual meeting of the Board of Directors of the Company duly called and
constituted pursuant to the Bylaws of the Company and the laws of the State of Delaware. Each
of the undersigned hereby waives any notice required by law with respect to this consent or the
actions taken hereby. This consent may he executed in counterparts.

          Dated and effective as of January 8,2018.




                                                    Steno Percassi,       rector


                                                    Frank Furlan, Director


                                                   Davide Cravero, Director




                        [Signature Page-Unanimous Written Convent -Kiko US4, Inc]
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         The actions taken by this consent shall have the same force and effect as if taken by the
 undersigned at the annual meeting of the Board of Directors of the Company duly called and
 constituted pursuant to the Bylaws of the Company and the laws of the State of Delaware. Each
 of the undersigned hereby waives any notice required by law with respect to this consent or the
 actions taken hereby. This consent may be executed in counterparts.

              Dated and effective as of January 8, 2018.




                                                            'fano Percassi, Dire tor


                                                         Frank Furlan, Director


                                                         Davide Craver°, Director




                            [.Signature Page-Unanimous Written Consent -Kiko USA, Inc.]
138057649.1
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     Fill in this information to identify the case:

     Debtor name     KIKO USA, Inc.

     United States Bankruptcy Court for the:   District of Delaware         AAA AAAAA


                                                                                                                                                 0 Check if this is an
     Case number (If known):
                                                                                                                                                    amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                            12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
  disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
  secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
  largest unsecured claims.


    Name of creditor and complete                 Name, telephone number, and        Nature of the claim Indicate if     Amount of unsecured claim
    mailing address, including zip code           email address of creditor          (for example, trade claim is        If the claim is fully unsecured, fill in only unsecured
                                                  contact                            debts, bank loans,  contingent,     claim amount. If claim is partially secured, fill in
                                                                                     professional        unliquidated,   total claim amount and deduction for value of
                                                                                     services, and       or disputed     collateral or setoff to calculate unsecured claim.
                                                                                     government
                                                                                     contracts)
                                                                                                                         Total claim, if    Deduction for       Unsecured
                                                                                                                         partially          value of            claim
                                                                                                                         secured            collateral or
                                                                                                                                            setoff
    Michilli Inc.                               Evelyn Florio                        Fixed Assets
                                                                                                                                                                     285,000.00
    160 Varick Street, Suite 1101               646.613.9300
    New York, NY 10013                          eflorio@michilliinc.com



   , Contract Sri.                              Valentina Pozzebon                   Fixed Assets
                                                                                                                                                                     231,702.72
    Via G. Toniolo 20A                          +39 0422 600172
   'Pero di Breda di Piave                      valentina.pozzebon@contractsrl.com
    Treviso 31030
   - Italy
    Onsite Media Solutions                      Keith Krayanek                       Fixed Assets                                                                     120,129.69 ,
    PO Box 682675                               435.214.0305
    Park City, UT 84068                         keith@onsitemedia.com



    Westfield World Trade Center                Debra Yindra                         Lease                Disputed                                                     68,534.40
    Attn Legal Dept.                            310.689.2636
    2049 Century Park East 41st Floor           dyindra@westfield.com
    Los Angeles, CA 90067


   -Valerio Architects Inc.                     Merlyn Estrada                       Fixed Assets
                                                                                                                                                                       52,625.96
    5858 Wilshire Blvd, Suite 200               323.954.8996 x 130
5 Los Angeles, CA 90036                         mestrada@valerioinc.com



    WIT Logistics LLC                           Giorgio Laccona, COO                 Other
                                                                                                                                                                       52,124.75
    70 East Sunrise Hwy, Suite 611              516.568.2080
    Valley Stream, NY 11581                     glaccona@walkerscm.com



   :Fashion Show Mall LLC                       Felicia D. Ojo                       Lease
                                                                                                                                                                       29,462.33
    do Fashion Show                             312.960.2656
7 , 110 N. Wacker Dr.                           felicia.ojo@ggp.com
    Chicago, IL 60606

    IGuzzini Lighting USA, Ltd,                                                      Fixed Assets
                                                                                                                                                                       26,086.85
    60 Madison Ave, 2nd floor                   800.263.1339
    New York, NY 10010                          AR@sistemalux.com




                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
                                   Case 18-10069-MFW                         Doc 1      Filed 01/11/18           Page 11 of 14


      Debtor
                       KIKO USA, Inc.                                                                  Case number (i/knowii)
                     Name



       Name of creditor and complete                Name, telephone number, and Nature of the claim     Indicate if       Amount of unsecured claim
       mailing address, including zip code          email address of creditor    (for example, trade    claim is          If the claim is fully unsecured, fill in only unsecured -
                                                    contact                      debts, bank loans,     contingent,       claim amount. If claim is partially secured, fill in
                                                                                       professional     unliquidated,     total claim amount and deduction for value of
                                                                                       services, and    or disputed       collateral or setoff to calculate unsecured claim.
                                                                                       government
                                                                                       contracts)
                                                                                                                          Total claim, if    Deduction for        Unsecured
                                                                                                                          partially          value of             claim
                                                                                                                          secured            collateral or
                                                                                                                                             setoff

        Global Facility Management                 Valerie Maccone                     Other                                                                             24,642.54
        525 Broadhollow Road                       631.617.6500 x363
 9      Melville, NY 11747                         Valerie.Maccone@gfm247.com



    Openmind                                                                           Fixed Assets                                                                      18,400.00
    Via Guiseppe Ferrari 39                        +39 02 320626320
 10 Monza 20900                                    amministrazione@openmindonline.it
    Italy

        Cluster Reply S.r.l.                                                           Fixed Assets                                                                      16,650.00'
        Via Cardinal Massaia, 75                   +39 011 29100
 11     Tornio 10147                               creditmanagement@reply.it
        Italy

    W.B. Mason                                     Lisa Fiore                          Other                                                                             15,540.45
    59 Centre St                                   888.926.2766
 12 Brockton, MA 02301



    GOP Staten Island                              Joseph M. Vitale                    Lease                                                                             15,365.65'
    do Staten Island Mall - Phase I                312.960.2563
 13 Attn Law/Lease Admin.                          joseph.vitale@ggp.com
    110 N. Wacker Dr.
    Chicago, IL 60606
        Plaza internacional Puerto Rico            Janice Sanders                      Lease                                                                             15,322.89
        P0 Box 674797                              248.258.7562
 14     Detroit, MI 48267-4797                     jsanders@taubman.com



    Retail Next, Inc.                              Tracy Parraz                        Fixed Assets                                                                      14,525.74
    60 S. Market St, 10th floor                    408.816.1848
 15 San Jose, CA 95113                             invoices@retailnext.net



     Sandy Alexander, Inc.                         Annette Singh                       Other                                                                             12,696.891
     200 Entin Road                                973.470.8100
- 16 Clifton, NJ 07014



    GOP- Providence Centers, LLP                   Sarah J McCain                      Lease                                                                             11,179.49
    c/o Providence Place                           312.960.2951
 17 Attn Law/Lease Admin.                          sarah.mccain@ggp.com
    110 N. Wacker Dr.
    Chicago, IL 60606

    Permasteelisa North America                    Leanne St. Georges                  Fixed Assets                                                                      10,056.20!
    123 Day Hill Road                              860.602.1010
 18 Windsor, CT 06095                              I.stgeorges@permasteelisagroup.co



    Mirage Granito Ceramico S.p.A                                                      Fixed Assets                                                                       9,194.581
    Via Giardini Nord, 225                         +39 0536 29611
 19 Montecuccolo 41026
    Italy

    Ruchelman P.L.L.C.                             Stanley Ruchelman                   Professional                                                                       9,000.00
  ! 150 E. 58th Street, 22nd Fl.                   212.755.3333
20 New York, NY 10155                              ruchelman@ruchelaw.com




                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
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                           UNITED STATES BANKRUPTCY COURT
                                                             District of Delaware



Debtor KIKO USA, Inc.                                                        Case number (if known)
          Name




                                          LIST OF EQUITY SECURITY HOLDERS

           Following is the list of the Debtor's equity security holders which is prepared in accordance with Fed, R. Bank. P. 1007(a)(3) for
   filing in this chapter 11 case.



                                                                                               Number of Percent of
         Name and last known address or place of business of holder        Security Class       Shares    Ownership         Kind of Interest

       Kiko S.p.A.                                                        Equity Holder                      100%            Ownership
       Via Paleocapa
       Bergamo 24010
       Italy




                                                    LIST OF EQUITY SECURITY HOLDERS
                           Case 18-10069-MFW                    Doc 1          Filed 01/11/18           Page 13 of 14


                             UNITED STATES BANKRUPTCY COURT
                                                                  District of Delaware



         KIKO USA, Inc.
Debtor                                                                              Case number (if known)
           Name




                                            CORPORATE OWNERSHIP STATEMENT
Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following are the corporations, other than a governmental entity, that directly or
indirectly own 10% or more of any class of the Debtor's equity interests.


                  Name and last known address or place of business of holder                                               Number of Shares or Securities

             Kiko S.p.A.
                                                                                                                           100%
             Via Paleocapa
             Bergamo 24010
             Italy




                                                      CORPORATE OWNERSHIP STATEMENT
                        Case 18-10069-MFW                         Doc 1           Filed 01/11/18                       Page 14 of 14




  Debtor Name     KIKO USA, Inc.

  United States Bankruptcy Court Mr the:   District of Delaware

  Case number (II known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Declaration and signature




         I am the president, another officer, or art authorized agent of the corporation a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         L3     Schedule NB: Assets—Real and Personal Property (Official Form 206A/B)

         C3     Schedule C: Creditors Who Have Claims Secured by Property (Official Form 206D)

         LI     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         Li     Schedule G: Executory Contracts and Unexpired Leases (Official Form 2060)

         Li     Schedule H: Codebtors (Official Form 206H)

        C..1    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

        LI      Amended Schedule


        29      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


        12:1 Other document that requires a declaration      Corporate Ownership Statement: List of Equity Security Holders




        I declare under penalty of perjury that the foregoing iktrue and correa


        Executed on th/AWR                                  X                                                 . 1°N.


                        Mtvl /00 YYYY                             Signature of individual signing on behalf of debtor



                                                                  Frank Furian
                                                                  Printed name

                                                                  Chief Executive Officer
                                                                  Position or relationship to debtor



                                            Declaration Under Penalty of Perjury for Non-Individual Debtors
